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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                FT. WORTH DIVISION

BILLY JACK CRUTSINGER

         Petitioner,

v.                                                     Action No. 4:07-CV-00703-Y

LORIE DAVIS, Director
Texas Department of Criminal Justice,
      Correctional Institutions Division

         Respondent.


             REPLY TO RESPONDENT’S RESPONSE TO
        MOTION TO STAY EXECUTION PENDING PROVISION OF
     REPRESENTATION TO INVESTIGATE AND PREPARE AN INITIAL
                 HABEAS CORPUS APPLICATION

         Mr. Crutsinger files this reply to the Director’s Response to his Motion to Stay

Execution [Doc ## 112, 118]. The Director makes several arguments, all of which

are without merit.

         First, the Director argues that this court lacks jurisdiction to grant a stay

because she characterizes the 60(b) Motion remanded back to this district court as a

successive petition and asserts Fifth Circuit authorization is required. See Response

at 6 (“there is no federal habeas petition currently pending... it lacks jurisdiction

subject matter” and citing 28 U.S.C. § 2244(b)(3)(a) “Before a second or successive

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application ... is filed in the district court, the applicant shall move in the appropriate

court of appeals for [authorization”). The argument is frivolous. In its published

opinion, the Fifth made clear that this district court had subject matter jurisdiction and

the 60(b) motion was not a successive petition. It held:

       Crutsinger’s motion for funding is analogous. It does not present a
       revisitation of the merits of the IATC claim. It is confined to the federal
       district court’s denial of funding in the first federal habeas proceeding.
       It is not a successive habeas petition within the meaning of 28 U.S.C. §
       2244(b)(1). The district court therefore had jurisdiction to consider the
       Rule 60(b)(6) motion.

Crutsinger v. Davis, 2019 WL 2864445, at *4 (5th Cir. 2019).

       The Director’s second and alternative argument is equally without merit. The

Director contends that “Crutsinger’s 60(b) motion entirely lacks merit.” She argues

that “over the last decade, three federal courts – totaling thirteen federal judges

between them – have considered and reconsidered” the IATC claim and attendant

funding. Response at 9-10. Mr. Crutsinger’s claim does have merit.

       Mr. Crutsinger filed a habeas corpus application because the statute of

limitations required him to, and he did so without the provision of high-quality

representation guaranteed to him by 18 U.S.C. § 3599. Specifically, he was appointed

counsel without the means to conduct reasonably necessary investigation into all the

grounds that render his custody in violation of federal law. See 28 U.S.C. §



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2241(c)(3); McKleskey v. Zant, 499 U.S. 467, 498 (1991) (a habeas petitioner “must

conduct a reasonable and diligent investigation aimed at including all relevant claims

and grounds for relief in the first federal habeas petition”).

      Disagreeing with Judges Owen and Smith’s misinterpretation of Gonzales and

its reliance on Artuz, Judge Graves pointedly stated that “Crutsinger had not

abandoned anything and had been diligently trying to get someone to review the

denial of funding.” Crutsinger v. Davis, 2019 WL 2864445, at *8 (5th Cir. 2019).

      The essence of the rulings "over the last decade, [by] three federal courts –

totaling thirteen federal judges between them,” have all been incorrect rulings

demanding that Crutsinger “prove that he will be able to win relief if given the

services he seeks” – a requirement in direct conflict with Ayestas v. Davis, 138 S.Ct.

1080, 1094 (2018) (“a funding applicant must not be expected to prove that he will

be able to win relief if given the services he seeks.”).

      Third, the Director makes an unsubstantiated distinction that McFarland is

limited to “initial habeas petitions.” (Emphasis in original). Response at 11. And

that Batagglia stands for the proposition that a stay is warranted when a defendant

“lacked counsel to prepare his claim of competency.” Response at 12. McFarland

and Battaglia are not so narrow. They stand for the proposition that a stay is

warranted when a death sentenced prisoner is denied the right to meaningful

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representation. Such denial of the right to meaningful representation, can take several

forms, which includes the denial of funding in Mr. Crutsinger’s case and the

concomitant provision of high-quality representation guaranteed to him by 18 U.S.C.

§ 3599. Lonchar v. Thomas, 517 U.S. 314 (1996), requires that Mr. Crutsinger not

be executed until the merits of his initial habeas corpus application have been

meaningfully adjudicated. McFarland v. Scott, 512 U.S. 849, 858 (1994) made clear

that a person sentenced to death may not be executed before provision of meaningful

representation required by statute).

      Finally, the Director asserts that 2254(e) is a procedural bar. Response at 12-

13, and n. 7. The Director is mistaken. Title 28 U.S.C. § 2254(d) is not applicable

to the IATC claim at all.

      Mr. Crutsinger's state habeas application, which purported to raise a claim of

ineffective assistance of counsel contains no case-specific factual allegations. It thus

did not even meet pleading requirements in Texas to be considered. See Ex parte

Medina, 361 S.W.3d 633, 640 (2011) (application must contain specific factual

allegations to be cognizable); Ex parte Dutchover, 779 S.W.2d 76, 78 (Tex. Crim.

App. 1989) ("In a collateral attack, [] where the burden is upon the applicant to

establish the illegality of his restraint, we deem it appropriate to require an applicant

to plead and prove facts showing the error did in fact contribute to his conviction or

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punishment."). Far from demonstrating an adjudication of the merits of any claim

occurred, the Director has merely highlighted state habeas counsel's egregiously

deficient performance.

      To whatever extent the Court wishes to consider this a "claim" that was raised

and adjudicated in state court, it clearly is not the same claim as Mr. Crutsinger would

present to this Court following the provision of reasonably necessary investigative

services. See Vasquez v. Hillery, 474 U.S. 254, 260 (1986) (claim raised in a federal

habeas application is not the same claim as presented to the state court if it has been

"fundamentally altered" by the supplementation of factual allegations or evidence).

See also Smith v. Quarterman, 515 F.3d 392, 402 (5th Cir. 2008) (applying Hillery

to conclude that claim was fundamentally altered in federal court by

supplementation). As Mr. Crutsinger's state habeas application did not make any

specific allegations, it would be virtually impossible for Mr. Crutsinger not to

fundamentally alter that "claim." Even his thumbnail sketch of a Strickland claim that

he pleaded without investigative resources fundamentally altered the state court

"claim."

      In conclusion, Mr. Crutsinger requests that the Court stay his pending

execution, currently scheduled for September 4, 2019, pending provision of his

statutorily guaranteed right to high-quality representation to investigate and prepare

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an initial federal habeas corpus application and pending an orderly adjudication

thereof. Mr. Crutsinger remains exposed to the substantial risk that meritorious

habeas corpus claims will never be heard. McFarland, 512 U.S. at 856.




                                  CONCLUSION

      For the foregoing reasons, the Court should stay Mr. Crutsinger's execution.

                                                              Respectfully submitted,

                                                              /s Lydia M.V. Brandt
                                                         ______________________
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                             CERTIFICATE OF SERVICE

      This certifies that on July 30, 2019, I electronically filed the foregoing

document with the Clerk of Court using the electronic case filing system of the Court.

The electronic case filing system sent a notice of electronic filing to the attorney of

record for the Appellee, Gwendolyn Vindell, Assistant Attorney General, who has

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consented in writing to accept this notice as service of this document by electronic

means.


                                                             /s Lydia M.V. Brandt

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